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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                              GREENVILLE DIVISION

UNITED STATES OF AMERICA,

VS.                                             CRIMINAL ACTION NO. 4:06CR124-P-B

ERWIN DAVID RABHAN, ET AL.,                                                     DEFENDANTS.

                                 ORDER CONTINUING TRIAL

        This matter comes before the court upon Defendant Erwin David Rabhan’s Motion to

Continue Scheduling Order Deadlines and Trial Setting [46-1]. After due consideration of the

motion, the court finds as follows, to-wit:

        Trial is currently set for December 11, 2006. Defense counsel avers that he needs additional

time to review and analyze voluminous discovery in this bank fraud case, to provide reciprocal

discovery if appropriate, and to file pretrial motions.

        The Government has no objection to the continuance.

        The above circumstances enable the Court to exclude, pursuant to 18 U.S.C. section

3161(h)(8)(A), the period of delay from December 11, 2006 until the new trial date to be set in this

matter. The time is excludable under subsection (h)(8)(A) because, given the circumstances

described above, a continuance is necessary to afford the defendant’s counsel more time to

adequately prepare for his client’s defense. As such, the ends of justice served by the granting of this

continuance outweigh the best interests of the public and the defendant in a speedy trial.

        IT IS THEREFORE ORDERED AND ADJUDGED that:

        (1) Defendant’s Motion for Continuance [46-1] is hereby GRANTED;

        (2) Trial of this matter is continued as to all Defendants until Monday, March 26, 2007 at


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       9:00 a.m. in the United States Courthouse in Greenville, Mississippi;

       (3) The delay from December 11, 2006 to March 26, 2007 is excluded from Speedy Trial Act

considerations as set out above;

       (4) The deadline for filing pretrial motions is March 5, 2007; and

       (5) The deadline for submitting a plea agreement is March 12, 2007.

       SO ORDERED this the 27th day of November, A.D., 2006.


                                                    /s/ W. Allen Pepper, Jr.
                                                    W. ALLEN PEPPER, JR.
                                                    UNITED STATES DISTRICT JUDGE




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